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                       DISTRICT COURT OF APPEAL, FIRST DISTRICT
                                    2000 Drayton Drive
                              Tallahassee, Florida 32399-0950
                               Telephone No. (850)488-6151

                                        August 26, 2019

                                                      CASE NO.: 1D18-5171
                                                      L.T. No.: 2017-CA-0162


Saket Chaudhari                         v.          J.D. James, Inc. D/B/A Nature
                                                    Bridges

Appellant / Petitioner(s),                         Appellee / Respondent(s)

BY ORDER OF THE COURT:

          Appeal dismissed pursuant to Florida Rule of Appellate Procedure 9.350(b).

       I HEREBY CERTIFY that the foregoing is (a true copy of) the original court order.

Served:

S. Elysha Luken                    Alex Joseph Sabo
Saket Chaudhari
Hon. Kirk Reams, Clerk

ms
